
The People of the State of New York, Respondent, 
againstMarhoryta Ranzheva, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Gilbert C. Hong, J.), rendered August 18, 2015, convicting her, upon a plea of guilty, of misapplication of property, and imposing sentence.




Per Curiam.
Judgment of conviction (Gilbert C. Hong, J.), rendered August 18, 2015, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: September 19, 2017










